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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  JUDICIAL WATCH,

                         Plaintiff,

                 v.                                Civil Action No. 19-0879 (CJN)

  UNITED STATES DEPARTMENT
  OF JUSTICE,

                         Defendant.


                      DECLARATION OF COURTNEY J. O’KEEFE

               I, Courtney J. O’Keefe, declare the following to be true and correct:

       1.      I am an Attorney in the Freedom of Information Act (“FOIA”)/Privacy Act

(“PA”) Unit in the Office of Enforcement Operations in the Criminal Division of the United

States Department of Justice (“Department” or “DOJ”). I have held this position since February

2020. I was previously employed as an Attorney with the Department’s Office of Information

Policy from 2015-2018 and with the Department’s National Security Division from 2018-2020.

       2.      In my capacity as an Attorney in the FOIA/PA Unit, and in conjunction with the

Chief and Deputy Chief of the FOIA/PA Unit, I assist in supervising the handling of FOIA and

PA requests processed by the FOIA/PA Unit. I am responsible for, among other things,

providing litigation support and assistance to Assistant United States Attorneys and Civil

Division Trial Attorneys who represent the Criminal Division in lawsuits filed in federal court

under the FOIA and/or the PA stemming from requests for Criminal Division records.

       3.      The FOIA/PA Unit is responsible for processing FOIA/PA requests that seek

records from the Criminal Division. The FOIA/PA Unit determines whether the Criminal
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Division maintains records responsive to FOIA/PA requests, and if so, whether they can be

released in accordance with the FOIA and the PA. In processing such requests, the FOIA/PA

Unit consults with personnel in the Criminal Division sections where potentially responsive

records may be maintained and, when appropriate, with other components within the Department

of Justice, as well as with other Executive Branch agencies.

       4.      Due to the nature of my official duties, I am familiar with the procedures followed

by the Criminal Division in responding to requests for information from its files pursuant to the

provisions of the FOIA, 5 U.S.C. § 552, and the PA, 5 U.S.C. § 552a. Specifically, I am familiar

with the FOIA request submitted by Plaintiff to the Criminal Division that is at issue in this

litigation and the Criminal Division’s search and response to that request.

       5.      I make the statements herein on the basis of personal knowledge, as well as on

information provided to me by others within the Criminal Division with knowledge of the search

and documents at issue in this case and on information acquired by me in the course of

performing my official duties in the FOIA/PA Unit.

                                    Plaintiff’s FOIA Request

        6.        By email dated July 5, 2018, Plaintiff submitted a FOIA request to the Mail

Referral Unit of the United States Department of Justice (“MRU”) seeking “any and all records

regarding, concerning, or related to the April 2017 meeting between Department of Justice and

FBI personnel and reporters, editors, and/or other individuals employed by and/or representing

the Associated Press [“April 2017 meeting”].” Additionally, the FOIA request sought “any and

all records of communication between any official, employee, or representative of the

Department of Justice and any of the individuals present at the aforementioned meeting.”

Plaintiff provided in this FOIA request “for purposes of clarification” a hyperlink to a Politico



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news article, dated June 29, 2018, entitled “Associated Press May Have Led FBI to Manafort

Storage Locker.” A copy of Plaintiff’s FOIA request, dated July 5, 2018, is attached hereto as

Exhibit A.

        7.        By email dated July 17, 2018, the MRU routed Plaintiff’s FOIA request to the

Criminal Division for processing.

        8.        On March 27, 2019, Plaintiff filed suit in connection with their July 5, 2018

FOIA request. See Compl., ECF No. 01.

                       Description of FOIA/PA Unit Search Methods

       9.      The FOIA/PA Unit oversees the processing of FOIA requests submitted to the

Criminal Division and works with the Criminal Division’s offices in doing so. Upon receipt of a

FOIA request, the FOIA/PA Unit will, first, assess which Criminal Division office(s) is/are

most likely to have records responsive to the request. Additionally, if the FOIA/PA Unit

determines that the request pertains to a subject that is likely to generate substantial media

interest, the FOIA/PA Unit will also notify the Office of the Assistant Attorney General

(“OAAG”) of the Criminal Division of receipt of the request.

        10.       Once it has assessed which Criminal Division office(s) is/are most likely to

maintain records responsive to a FOIA request, the FOIA/PA Unit typically initiates records

searches by sending a search request through its electronic FOIA Tracking Database to the

specific office(s), or by sending an email to a designated point-of-contact in the office in

question who serves as the liaison with the FOIA/PA Unit. The search request notifies the

office(s) of the receipt of the request and the need to conduct a search.

        11.       The Criminal Division offices, as the custodians of their own records and the

best authorities on what records they would maintain, conduct their own searches depending on



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the manner in which they maintain their records and the records management database systems

they use. The designated point-of-contact of each office, after consultation with their

supervisor(s), then advise the FOIA/PA Unit if they (1) have no records responsive to the

request; (2) have potentially responsive material which will be provided directly to the FOIA/PA

Unit for review and processing; or (3) have potentially responsive material for which they

request the FOIA/PA Unit conduct a search of electronic records, i.e., the email or computer

systems administered by the Criminal Division’s Information Technology Management (“ITM”)

Unit staff.

         12.      The FOIA/PA Unit reviews the locations of the searches, the databases

searched, the “keywords” used, and the date range used for searches. The FOIA/PA Unit also

has discussions with Criminal Division office personnel familiar with the day-to-day operations

of the specific office to determine whether the conducted searches are adequate and reasonable.

Once this has been determined, the FOIA/PA Unit takes the next steps to either work with the

ITM Unit to conduct electronic searches or begins reviewing the potentially responsive records

returned to the FOIA/PA Unit. 1

         Search Conducted by the FOIA/PA Unit in Response to Plaintiff’s Request

         13.      The FOIA/PA Unit decides upon receipt of a FOIA/PA request the appropriate

office(s) in which to conduct initial records searches. Prior to receipt of Plaintiff’s FOIA

request, the Criminal Division received a separate FOIA request seeking records concerning the

April 2017 meeting, which identified Andrew Weissmann, former Chief of the Fraud Section of




1
  The initial determination regarding where to search is not always final; rather, throughout the
life cycle of a request, staff of the FOIA/PA Unit will assess whether additional or supplemental
searches are appropriate. This is based on a review of records that are located in initial searches,
discussions with Criminal Division personnel, and other pertinent factors.
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the Criminal Division, as an individual who attended the meeting. Thus, the FOIA/PA Unit was

aware that the Fraud Section potentially maintained responsive records. Additionally, because of

the media interest surrounding the April 2017 meeting and its relation to the work of the Special

Counsel’s Office, the FOIA/PA Unit notified the Office of the Assistant Attorney General

(“OAAG”) when the request was received and indicated that it would provide a request to

OAAG to conduct a search for responsive records. At that time, OAAG further identified the

Money Laundering and Asset Recovery Section (“MLARS”) as another office within the

Criminal Division that might have potentially responsive records.

        14.       Thus, following the initial review of Plaintiff’s request, the FOIA/PA Unit was

aware that OAAG and MLARS might have potentially responsive records pertaining to the April

2017 meeting and that Andrew Weissmann, former Chief of the Fraud Section, had attended the

April 2017 meeting. Accordingly, with the information described above in paragraph 13 and

based on additional research into the subject of Plaintiff’s request, the FOIA/PA Unit assessed

that OAAG, MLARS, and the Fraud Section were the Criminal Division offices most likely to

maintain records responsive to Plaintiff’s request.

        15.       On May 3, 2019, the FOIA/PA Unit sent search requests to OAAG, MLARS,

and the Fraud Section via its electronic FOIA Tracking Database. OAAG, MLARS, and the

Fraud Section were each asked to conduct a search to identify any potentially responsive records

and/or custodians (if an ITM search was needed) for the following: records regarding,

concerning, or related to the April 2017 meeting between DOJ and FBI personnel and reporters,

editors, and/or other individuals employed by and/or representing the Associated Press and

records of communication between any official, employee, or representative of DOJ and any of




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the individuals present at the aforementioned meeting. Each office was also given access to the

FOIA request.

           16.    On May 9, 2019, OAAG advised that it was possible that there existed

potentially responsive records, for which OAAG requested the FOIA/PA Unit conduct an

electronic search, in coordination with ITM. Based upon OAAG’s understanding of the

underlying subject of the FOIA request, OAAG identified potential custodians of responsive

records: Andrew Weissmann, formerly the Chief of the Fraud Section; Bruce Swartz, a Deputy

Assistant Attorney General for the Criminal Division; Kendall Day, a former Acting Deputy

Assistant Attorney General for the Criminal Division; and Ann Brickley, an MLARS Trial

Attorney.

           17.    On May 30, 2019, MLARS provided the FOIA/PA Unit with a set of Ann

Brickley’s emails believed to be responsive to the request. 2 After discussions with Ms. Brickley

and a review of her provided emails, the following individuals (in addition to those identified

above) were identified as having sent or received emails regarding the April 2017 meeting:

Deborah Connor, the Chief of MLARS; Mary Butler, the Chief of MLARS’ International Unit;

and Bruce Ohr, formerly of the Office of the Deputy Attorney General. Additionally, Ms.

Brickley confirmed that she did not possess any hard copy records responsive to Plaintiff’s

request.

           18.    On May 30, 2019, the Fraud Section informed the FOIA/PA Unit that its

current staff had no knowledge of the Fraud Section or Mr. Weissmann’s involvement in the

meeting identified in the request. However, based upon the FOIA/PA Unit’s understanding of




2
  During the course of determining appropriate records searches regarding Plaintiff’s FOIA
request, the FOIA/PA Unit became aware that Ann Brickley attended the April 2017 meeting.
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the underlying subject of the FOIA request and the references to Mr. Weissmann in news media

articles discussing the April 2017 meeting, the FOIA/PA Unit determined that an ITM search of

Mr. Weissmann’s emails was necessary.

        19.       After receiving these initial responses, the FOIA/PA Unit assessed that an

appropriate time frame for the requested electronic searches would be March 1, 2017 through

June 30, 2017. Specifically, because the FOIA/PA Unit had, by this point, determined that the

meeting in question occurred on April 11, 2017, this date range extended from more than five

weeks prior the meeting, to approximately seven weeks after its occurrence. Based on both the

face of Plaintiff’s request and discussions with personnel from OAAG and MLARS, including

those who were involved in the April 2017 meeting in question, the FOIA/PA Unit assessed that

this timeframe would suffice to capture responsive records.

        20.       On July 17, 2019, the FOIA/PA Unit sent its first search request to the ITM

Unit to conduct an electronic records search. Specifically, the FOIA/PA Unit requested that ITM

search the email accounts of the following custodians, i.e., all persons who had been identified

by the means described above, as having potentially responsive records: Andrew Weissmann,

Bruce Swartz, Kendall Day, Bruce Ohr, Deborah Connor, Mary Butler, and Ann Brickley. The

FOIA/PA Unit also directed a search of MLARS’ electronic shared drives. The FOIA/PA unit

provided the following search terms for this electronic records search: “AP” with “meeting,”

“Associated Press” with “meeting,” “Eric Tucker,” Jeff Horwitz,” “Ted Bridis,” “Jack Gillum,”

“etucker@ap.org,” “jhorwitz@ap.org,” or “tbridis@ap.org.” 3


3
  Eric Tucker, Jeff Horwitz, Ted Bridis, and Jack Gillum were the AP reporters present at the
April 2017 meeting. Ann Brickley’s emails discussed, supra paragraph 17, provided the
reporters’ names and contained the email addresses of Tucker, Horwitz, and Bridis, but not
Gillum.


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        21.       On August 1, 2019, the ITM Unit completed the first electronic search and

returned potentially responsive emails as well as documents from MLARS’ shared drives to the

FOIA/PA Unit.

        22.       The FOIA/PA Unit reviewed the records returned from the first electronic

search and determined that supplemental records searches of additional custodians, who

appeared in these records, were necessary. Accordingly, on November 27, 2019, the FOIA/PA

United submitted two additional search requests (the second and third search requests,

respectively) to the ITM Unit.

        23.       The second search request sought an electronic records search of the following

custodians who appeared in the first set of records returned by the initial searches described

above: Kenneth Blanco, formerly the Acting Assistant Attorney General of the Criminal

Division; James Mann, formerly the Chief of Staff of OAAG; and Trevor McFadden, formerly a

Deputy Assistant Attorney General of OAAG. This electronic records search consisted of

keyword searches using the following search terms: “AP” with “meeting,” “Eric Tucker,” Jeff

Horwitz,” “Ted Bridis,” or “Jack Gillum.”

        24.       The review of the first electronic records search independently revealed that

certain custodians – namely the same three custodians listed in paragraph 23, as well as Kendall

Day – had communicated with the Federal Bureau of Investigation and DOJ’s Office of Public

Affairs regarding the April 2017 meeting. Accordingly, a separate electronic records search of

those custodians (Day, Blanco, Mann, and McFadden) was independently conducted, using the




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following search terms: “siflores@usdoj.gov;” and the email address of a non-public facing FBI

employee who worked in the FBI’s Office of Public Affairs. 4

        25.       On December 23, 2019, the ITM Unit completed the second and third

electronic searches and returned potentially responsive emails to the FOIA/PA Unit.

        26.       The Criminal Division has conducted an adequate and reasonable search for

records responsive to Plaintiff’s request. Information in the public domain regarding the April

2017 meeting confirms that the Criminal Division correctly identified Andrew Weissmann and

Ann Brickley as the Criminal Division employees present at the meeting. Upon determining that

Mr. Weissmann and Ms. Brickley attended the April 2017 meeting, the Criminal Division

searched their email accounts for potentially responsive records. The searches of Ms. Brickley’s

email account consisted of both a search by MLARS and an additional search by ITM. 5 A

search of MLARS’ shared drives also produced potentially responsive records. A search for

hard copy records produced no responsive records. Other DOJ custodians of potentially

responsive records were properly identified via responses to the search requests sent to the

relevant offices, a review of Ms. Brickley’s emails as provided by MLARS, and the FOIA/PA

Unit’s review of electronic records located by ITM. Ultimately, three searches for electronic

records were submitted to ITM to ensure that the Criminal Division’s search for records

encompassed all custodians of potentially responsive records. All electronic searches were



4
 The email address “siflores@usdoj.gov” belongs to Sarah Flores, the former Department
spokesperson and head of the Department’s Office of Public Affairs. The redacted FBI email
address belongs to a non-public facing FBI employee. The FOIA/PA Unit was informed by
Criminal Division employees that this FBI employee had discussed the subject of Plaintiff’s
FOIA request with the other custodians involved in this search.
5
 The Criminal Division was limited to an ITM search of Mr. Weissmann’s email account
because he no longer worked for the Criminal Division at the time the records searches were
conducted.
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conducted using search terms and parameters designed to locate all potentially responsive

records. Following these three searches and a review of all records returned, the FOIA/PA Unit

confirmed that no other sections or custodians within the Criminal Division were likely to

maintain any additional responsive records.

        27.       Each step in the handling of Plaintiff’s request was entirely consistent with the

FOIA/PA Unit’s procedures, which were adopted to ensure an equitable response to all persons

seeking records under the FOIA/PA.

                          Interim Response to Plaintiff’s FOIA Request

        28.       On October 4, 2019, after processing seventy-nine pages of records, the

FOIA/PA Unit issued its first interim response. Six pages were withheld in full and twenty-eight

pages were released in part, with certain information marked as exempt from disclosure pursuant

to 5 U.S.C. § 552(b)(5), (b)(6), (b)(7)(A), and (b)(7)(C). 6 In this letter, the FOIA/PA Unit also

informed Plaintiff that forty-five pages were duplicate records. A copy of this first interim

response letter to Plaintiff, dated October 4, 2019, is attached hereto as Exhibit B (with

attachments omitted). 7




6
 The FBI withheld certain information in these records pursuant to 5 U.S.C. § 552 (b)(6), (7)(C),
and (b)(7)(E). The FBI will address these withholdings in a separate declaration filed
concurrently before this Court.
7
  Because Plaintiff only challenges withholdings from records released in part during this interim
response, I do not address the FOIA/ PA Unit’s additional interim responses issued from October
30, 2019 through June 19, 2020, which resulted in an additional 48 pages being withheld in full
and an additional 323 pages being released in part.


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        29.       Plaintiff is challenging withholdings in two pages of records released in part to

Plaintiff by the FOIA/PA Unit on October 4, 2019. 8 For ease of reference, a copy of these two

pages is attached hereto as Exhibit C. 9

                       Description of Documents and Withheld Material

        30.       The information that the FOIA/PA Unit withheld consists of portions of email

discussions among Department employees pertaining to the April 2017 meeting.

                                           Exemption 5

        31.       Exemption 5 of the FOIA exempts from mandatory disclosure “inter-agency or

intra-agency memorandums or letters which would not be available by law to a party other than

an agency in litigation with the agency.” 5 U.S.C. § 552(b)(5). As discussed in detail below, the

information protected by the FOIA/PA Unit in part pursuant to FOIA Exemption 5 falls squarely

within the attorney work-product and/or deliberative process privileges. Each of these privileges

will be discussed in turn.

                         Exemption 5: Inter-/Intra-Agency Threshold

        32.       The information withheld from Plaintiff pursuant to this exemption consists of

communications generated by and wholly internal to the Department. Specifically, the FOIA/PA

Unit withheld discrete portions of two emails, dated April 4, 2017, consisting of emails among

Criminal Division attorneys from OAAG and MLARS that contain internal discussions




8
  The FBI will address its withholdings in these two pages in a separate declaration filed
concurrently before this Court.
9
 On April 10, 2020, during the course of this litigation, the FOIA/PA Unit re-issued one of the
two pages at issue before this Court, disclosing additional names in these records that became
public during the course of this litigation. The pages presented as Exhibit C reflect these updated
disclosure determinations.

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regarding the upcoming April 2017 meeting. As such, the records are “inter-/intra-agency”

records within the threshold of Exemption 5.

                         Exemption 5: Attorney Work-Product Privilege

        33.       The attorney work-product privilege encompassed by Exemption 5 of the

FOIA shields material prepared by an attorney, or at the direction of an attorney, in reasonable

anticipation of litigation. It protects both tangible items prepared or developed by an attorney in

anticipation of litigation, and intangible items such as mental impressions, conclusions, opinions,

or legal theories as s/he anticipates or prepares for litigation. The privilege extends to materials

prepared during law enforcement investigations when an investigation is based upon a specific

wrongdoing and is undertaken to collect evidence and build a case against the individual alleged

to have committed wrongdoing. The purpose of this privilege is to protect the adversarial

process by insulating the attorneys’ preparation of litigation materials from scrutiny. The

privilege protects any part of a document prepared in anticipation of litigation, not just the

portions containing opinions and legal theories.

        34.       DOJ attorneys are singularly tasked with enforcing federal laws and defending

the interests of the United States. Disclosure of the withheld information would reveal DOJ

attorneys’ thought process in assessing the posture of a then-ongoing criminal investigation,

including opining on potential meetings with third parties, steps that DOJ attorneys were

planning to take pertaining to this investigation, the DOJ attorneys’ rationale for conducting the

investigation in a specific manner, and guidance received from supervisors and DOJ senior

officials. The information withheld reflects essential attorney work-product – legal theories and

analysis – that DOJ attorneys engage in as they execute their core function within the

Department of Justice.



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        35.       The protected information consists of portions of an email discussion among

Criminal Division attorneys written while conducting a criminal investigation into individuals

who may have violated federal criminal laws. This email exchange considers facts compiled

during the underlying investigation and assessments of information gathered, including the

purpose of the April 2017 meeting. Additionally, the protected information includes a strategy

discussion on the merits of an issue arising in the course of conducting a criminal investigation

into individuals who may have violated federal criminal laws.

                         Exemption 5: Deliberative Process Privilege

        36.       The deliberative process privilege is intended to protect the decision-making

processes of agencies from public scrutiny in order to enhance the quality of an agency’s

decisions. In order to invoke the deliberative process privilege, the protected information must be

both “pre-decisional” and “deliberative.”

        37.       The protected information comprises portions of an email discussion among

Criminal Division attorneys while conducting a then-ongoing criminal investigation.

Accordingly, this information is pre-decisional because it precedes both the conclusion of the

investigation, and also the Criminal Division’s determinations about how to best conduct the

meeting in question.

        38.       The protected information reflects the exchange of ideas and recommendations

among Criminal Division attorneys during a then-ongoing criminal investigation. In this email

discussion, Department attorneys express their opinions regarding an upcoming meeting with a

third party in the broader context of a then-ongoing criminal investigation and discuss strategy

regarding the upcoming meeting.




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         39.       These emails reflect exchanges that are at the core of the Department’s

deliberative process. They are deliberative because they reflect the “give-and-take” of the

consultative process among DOJ attorneys when faced with the question of how to conduct a

criminal investigation, including potentially meeting with third parties, in an effort to pursue

specific criminal charges against individuals. Disclosure of the information at issue would

severely hamper the efficient day-to-day workings of DOJ personnel as individuals would no

longer feel free to discuss their ideas, strategies, and advice in email messages and consequently

Department employees would be much more circumspect in their discussions with each other.

This lack of candor would impair the Department’s ability to foster the forthright internal

discussions necessary for efficient and proper decision-making. Certainly, disclosure of such

preliminary decisions made, and recommendations offered in an effort to eventually prosecute

specific crimes would make officials contributing to pre-decisional deliberations much more

wary in providing their views. Agency decision-making is at its best when employees are able to

focus on the substance of their views and not on whether their views may at some point be made

publicly available.

         40.       Agencies may withhold factual material in an otherwise “deliberative”

document where it is so thoroughly integrated with deliberative material that its disclosure would

expose or cause harm to the agency’s deliberations, or where the author of the document has

selected specific facts out of a larger groups of facts, and this act is deliberative in nature.

Accordingly, to the extent that information withheld contains factual material, that information is

inextricably intertwined with the deliberative nature of the email. The selection of the relevant

facts to include in the emails, moreover, reflects the deliberation of the Criminal Division

attorneys who drafted the emails.



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        41.       In each instance where information was withheld from Plaintiff pursuant to

Exemption 5, only that information which is protected by the attorney work-product and/or

deliberative process privileges was withheld, and it is reasonably foreseeable that disclosure of

this information would harm the interests protected by this provision.

                                     Exemption 6 and 7(C)

        42.       FOIA Exemption 6 protects information in “personnel and medical files and

similar files when the disclosure of such information would constitute a clearly unwarranted

invasion of personal privacy.” 5 U.S.C. § 552(b)(6). The term “similar files” is generally read

broadly to encompass any file containing information that applies to a particular person. Here,

the records constitute “similar files” as they contain the names of Department personnel.

        43.       FOIA Exemption 7(C) protects information “compiled for law enforcement

purposes” and protects personal privacy when disclosure “could reasonably be expected to

constitute an unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C). The Criminal

Division develops, enforces, and supervises the application of federal criminal laws.

Specifically, CRM029-030 was created during the course, and in furtherance, of the then-

ongoing criminal investigation of Paul Manafort, which ultimately resulted in his indictment, as

well as his conviction on several charges. Accordingly, these records were compiled for a law

enforcement purpose and readily meet the threshold of Exemption 7.

        44.       When withholding information pursuant to these two exemptions, 10 the

FOIA/PA Unit is required to balance the privacy interests of the individuals mentioned in these



10
   The FOIA/PA Unit’s practice is to assert Exemption 6 in conjunction with Exemption 7(C).
Although the balancing test for Exemption 6 uses a “would constitute a clearly unwarranted
invasion of personal privacy” standard and the test for Exemption 7(C) uses the lower standard
of “could reasonably be expected to constitute an unwarranted invasion of personal privacy,” the
analysis and balancing required by both exemptions is sufficiently similar to warrant a
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records against any public interest in disclosure. For purposes of this analysis, a public interest

exists when information would shed light on the Criminal Division’s performance of its mission

to develop, enforce, and supervise the application of all federal criminal laws. Courts have

generally found that individuals (including law enforcement personnel) have protectable privacy

interests in relation to being associated with criminal investigations and prosecutions. Courts

also generally have found that there is no overriding public interest in such information because

personal information about individuals typically does not shed light on or significantly increase

the public's understanding of the operations and activities of the Department of Justice. Here,

Exemptions 6 and 7(C) would justify withholding the identifying information and contact

information of Department personnel that appear in criminal law enforcement communications

and documents.

        45.       The FOIA/PA Unit determined that Department employees who hold positions

of leadership within the Criminal Division and/or whose identities were made public in the

course of this litigation have a de minimis privacy interest in their names in these emails. The

names of those individuals were released. However, the names of Department employees not in

leadership or public-facing positions, including attorneys not publicly affiliated with specific

criminal investigations, as well as administrative assistants, were withheld.




consolidated discussion. The privacy interests are balanced against the public's interest in
disclosure under the analysis of both exemptions.


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        46.       Information withheld by FOIA/PA Unit pursuant to Exemption 6 and 7(C)

consist of: (1) the names of non-public facing Department employees; (2) contact information for

Department employees, including email addresses, and office and mobile phone numbers. 11

        47.       The FOIA/PA Unit determined that the privacy interests in Department

employees’ information is substantial (more than de minimis). Considering the sensitive law

enforcement work DOJ employees undertake related to the enforcement of federal laws, the

release of such information – tied directly to a DOJ employee – could subject them to harassment

and unwanted publicity, which may limit their effectiveness in handling their respective

prosecution or investigation functions and duties, including administrative support to which they

are assigned. Disclosure would also reveal the identities of Department employees not publicly

affiliated with specific criminal investigations, as well as an administrative assistant that has

access to sensitive law enforcement information, who is not otherwise public facing. Harassing

telephone calls and unwarranted hostility could disrupt and impede their official activity.

Release of this identifying information could result in unwanted and even unlawful efforts to

gain additional access to these individuals and/or personal information about them.

        48.       Upon determining that the privacy interests described above are substantial,

FOIA requires a balancing analysis between the privacy interests of the individual against any

countervailing public interest in disclosure. In order to overcome a more than de minimis

privacy interest, Plaintiff must articulate a “FOIA public interest” in disclosure and establish a

nexus between the withheld information and that FOIA public interest. To demonstrate a FOIA

public interest in disclosure, Plaintiff must articulate how the withheld information sheds light on


11
  During the course of re-reviewing these records while preparing this Declaration, the FOIA/PA
Unit determined that it would no longer assert Exemptions 6 and 7(C) in conjunction with
portions withheld pursuant to Exemption 5 in the challenged two pages.

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the operations and activities of government or how it would contribute significantly to the

public’s understanding of the operations or activities of the Criminal Division or the Department.

The FOIA/PA Unit has not identified any cognizable public interest in disclosure of this

information. Revealing this information at issue is unlikely to add to the public’s understanding

of how the Criminal Division or the Department works or how well it performs its statutory

duties. Thus, the substantial privacy interests protected by withholding this information

outweigh the non-existent public interest that might be served by its release. Accordingly, the

release of such information constitutes a clearly unwarranted invasion of personal privacy

pursuant to Exemptions 6 and 7(C).

        49.       In each instance where information was withheld from Plaintiff pursuant to

Exemptions 6 and 7(C), the FOIA/PA Unit determined that the privacy interests were not

outweighed by any FOIA public interest in disclosure of that information, and it is reasonably

foreseeable that disclosure of this information would harm the interests protected by this

provision.

                           Segregation of Non-Exempt Information

        50.       I have carefully reviewed the records at issue line-by-line and determined that

all nonexempt information was segregated and disclosed. The specific segregability

determinations for information protected pursuant to Exemptions 5, 6, and 7(C) of the FOIA, are

discussed above in paragraphs 41 and 49 of this declaration.




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       I declare under penalty of perjury that the foregoing is true and correct.




                                                            _________________
                                                            Courtney J. O’Keefe


Executed this 11th day of March 2021.




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